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           ASJZ: USAO#2022R00516


                                      IN THE UNITED STATES DISTRICT COURT
                                         FOR THE DISTRICT OF MARYLAND

            UNITED STATES OF AMERICA                          *
                                                              *     CRIMINAL NO.
                     v.                                       *
                                                              *     (Conspiracy, 18 U.S.C. § 371; Disclosure
            ANNA GABRIELIAN &                                 *     of Individually Identifiable Health
             JAMIE LEE HENRY,                                 *     Information, 42 U.S.C. § 1320d-6)
                                                              *
                                   Defendants                 *
                                                              *
                                                              *
                                                            *****


                                                       INDICTMENT

                                                         COUNT 1
                                                        (Conspiracy)

                    The Grand Jury for the District of Maryland charges that:

                    At all times relevant to this Indictment:

                                                        Introduction

                    1.        The Health Insurance Portability and Accountability Act of 1996 (“HIPAA'’), 42

           U.S.C. § 1320d, el seq., was enacted, among other things, to limit the circumstances in which a

           patient's confidential medical information ("individually identifiable health information” or

           “IIHI”) could be used, obtained, or disclosed. HIPAA's security and privacy regulations, codified

           at 45 C.F.R. § 160 and 164, apply to health care providers, among others, who transmit any health

           information in electronic form in connection with a transaction covered by the regulations. See 45

           C.F.R. § 160. 102(a) and 160.013 (defining "covered entity"). HIPAA's criminal provision, 42

           U.S.C. § 1320d-6, prohibits the use, acquisition, or disclosure of IIHI - maintained by a covered

           entity - without patient authorization, unless such use, acquisition, or disclosure was otherwise

           permitted by HIP A A and its regulations.


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         2.       Defendant ANNA GABRIELIAN (“GABRIELIAN”), a resident of Maryland,

was an anesthesiologist licensed to practice medicine in Mainland. GABRIELIAN was a health

care provider and a covered entity as defined by HIPAA and its regulations. See 42 U.S.C. § 1320d;

45 C.F.R. § 160.103. GABRIELIAN worked as an anesthesiologist at Medical Institution 1,

located in Baltimore, Maryland.

         3.       Defendant JAMIE LEE HENRY (“HENRY”), a resident of Maryland, was

GABRIELIAN'S husband and a Major in the United States Army. HENRY was a doctor who

worked as a staff internist and was stationed at Fort Bragg, the home of the Army’s XVIII Airborne

Corps, headquarters of the United States Army Special Operations Command, and the Womack

Army Medical Center. HENRY was a health care provider and a covered entity as defined by

HIPAA and its regulations. See 42 U.S.C. § 1320d; 45 C.F.R. § 160.013. HENRY held a Secret

level security clearance, which permits an individual to have access to information classified

Secret, “the unauthorized disclosure of which reasonably could be expected to cause serious

damage to the national security,” according to Executive Order 13526.

         4.       On or about February 24, 2022, Russian President Vladimir Putin announced a

“special military operation" into Ukraine. Immediately thereafter, Russian missiles struck Ukraine.

and Russian military forces began a ground incursion into the country. That same day, U.S.

President Joseph Biden characterized the Russian attack as “a brutal assault on the people of

Ukraine without provocation, without justification, without necessity.'’ and authorized additional

sanctions against Russia. In announcing the sanctions, President Biden stated: “Some of the most

powerful impacts of our actions will come over time as we squeeze Russia's access to finance and

technology for strategic sectors of its economy and degrade its industrial capacity for years to

come.”

         5.       On or about August 17, 2022, an FBI Undercover Agent (“UC”) approached


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GABRIELIAN and introduced herself by name. The UC told GABRIELIAN she was asked to

contact GABRIELIAN about the assistance she offered a couple of months ago. GABRIELIAN

asked if the UC was from the Russian Embassy, and the UC confirmed that she was.

       6.       GABRIELIAN then told the UC that she had previously reached out directly to

the Russian Embassy by email and phone, offering Russia her and her husband HENRY's

assistance. GABRIELIAN also told the UC that although HENRY knew she was reaching out

to the Russian Embassy on both their behalf, GABRIELIAN had never mentioned HENRY's

name in her interactions with the Russian Embassy, and HENRY could claim he was unaware of

her actions if needed.

                                          The Conspiracy

       7.       From in or around August 17, 2022. through the present, in the District of Maryland

and elsewhere, the defendants, ANNA GABRIELIAN and JAMIE LEE HENRY, did knowingly

and unlawfully combine, conspire, confederate, and agree with each other to commit offenses

against the United States, that is, to knowingly obtain and disclose IIHI maintained by a covered

entity to another person, without patient authorization and for a reason other than permitted by

HIPAA and its regulations, in violation of 42 U.S.C. § 1320d-6(a), with intent to transfer IIHI for

malicious harm, in violation of 42 U.S.C. § 1320d-6 (b)(3).

                                    Object of the Conspiracy

       8.       The object of the conspiracy was to provide IIHI related to patients at Fort Bragg

and Medical Institution 1 to an individual that GABRIELIAN and HENRY believed to be

working for the Russian Government, in order to assist the Russian government by demonstrating:

1) the level of GABRIELIAN and HENRY’s access to IIHI of U.S. personnel, 2) GABRIELIAN

and HENRY‘s willingness to provide IIHI to the Russian government, and 3) the potential for the




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Russian government to gain insights into the medical conditions of individuals associated with the

U.S. government and military, to exploit this information.

                             Manner and Means of the Conspiracy

       9.      It was part of the conspiracy that GABRIELIAN and HENRY met with an

individual they believed to be associated with the Russian government, but who was, in fact, an

FBI Undercover Agent (“UC”), in order to convey to the UC their commitment to aid Russia, and

to discuss ways in which they could help the Russian government.

       10.     It was further part of the conspiracy that GABRIELIAN and HENRY suggested

to the UC that they obtain IIHI from the patient records at the United States Army and Medical

Institution 1. GABRIELIAN and HENRY stated they could obtain the IIHI of U.S. military.

associated military family members, and certain patients of Medical Institution 1, for the UC to

pass to the Russian government.

       11.     It was further part of the conspiracy that GABRIELIAN and HENRY discussed

with the UC the need for them to maintain "plausible deniability" regarding their interactions with

the UC. GABRIELIAN suggested a cover story for their interactions, and a plan for

GABRIELIAN and HENRY’s children flee the U.S. quickly if GABRIELIAN and HENRY

were told to act in a way that could expose their communications and actions to the U.S.

government.

       12.     It was further part of the conspiracy that GABRIELIAN accessed electronic

medical records and obtained IIHI related to patients of Medical Institution 1 who were associated

with the U.S. government, including the spouse of a government employee and a military veteran.

and transferred that IIHI to the UC so that it could be passed on to the Russian government.




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        13.     It was further part of the conspiracy that HENRY obtained IIHI related to members

of the U.S. Military and associated family members and transferred that IIHI to the UC so that it

could be passed to the Russian government.

                                             Overt Acts

        14.     In furtherance of the conspiracy, and to effect the objects thereof, at least one of the

co-conspirators performed and caused to be performed one of the following overt acts on or about

the dates set forth below in the District of Maryland and elsewhere:

       a.       On August 17, 2022, GABBRIELAN agreed to meet the UC, who claimed to be

associated with the Russian Embassy, at the UC’s hotel after work that day.

       b.       Later that day, August 17, 2022, GABRIELIAN called the UC to reaffirm

GABRIELIAN and HENRY w'ere committed to helping Russia.

       c.       Shortly thereafter on August 17, 2022, GABRIELIAN met the UC at a hotel in

Baltimore, Maryland. During that meeting, GABRIELIAN told the UC she was motivated by

patriotism toward Russia to provide any assistance she could to Russia, even if it meant being fired

or going to jail. GABRIELIAN proposed potential cover stories for meeting the UC, and stressed

the need for ‘"plausible deniability” in the event she was confronted by U.S. authorities about

meeting with the UC.

       d.       GABRIELIAN also told the UC during that meeting that HENRY, a military

officer, was currently a more important source for Russia than she was, since HENRY had more

helpful information, including on how the U.S. military establishes an army hospital in war

conditions, and about previous training the U.S. military provided to Ukrainian military personnel.

       e.       GABRIELIAN told the UC she wanted to schedule another meeting that evening

if HENRY were able to attend.

       f.       At approximately 5:45 pm. on August 17, 2022, GABRIELIAN called the UC and


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stated that GABRIELIAN and HENRY would arrive at the UC’s hotel at approximately 8:30 pm.

        g-      At approximately 8:10 pm on August 17, 2022, GABRIELIAN and HENRY met

the UC in the UC’s hotel room.

       h.        During that meeting, HENRY explained to the UC he was committed to

assisting Russia, and he had looked into volunteering to join the Russian Army after the conflict

in Ukraine began, but Russia wanted people with “combat experience*' and he did not have any.

       i.       HENRY further stated: “the way I am viewing what is going on in Ukraine now,

is that the United States is using Ukrainians as a proxy for their own hatred toward Russia."

       J-       During that same meeting in the hotel room on August 17, 2022, GABRIELIAN

instructed the UC on how she and HENRY could be most useful to Russia. Referring to herself

and HENRY. GABRIELIAN stated:

       If you have a useful long-term weapon, that can be used for years. If you use it for
       something that’s not tactically advantageous, you've lost it for nothing. So if
       [HENRY] can’t practice medicine, can’t be in the National Guard, you've lost an
       Anny doctor. If I have to look somebody up, and I do look somebody up, you've
       lost a link to [my employer] to establish those medical connections. It has to be
       something massively important, not just check if this person has polyps.

       k.       At another point during the meeting on August 17, 2022, HENRY and

GABRIELIAN offered to provide the UC with private medical records from the U.S. Anny and

Medical Institution 1 in order to help the Russian government.

       1.       During the same meeting, GABRIELIAN demanded that if she were to take an

action that put her at significant risk of arrest, she wanted her and HENRY’S children to “have a

nice flight to Turkey to go on vacation because I don't want to end in jail here with my kids being

hostages over my head.”

       m.       During that same meeting, GABRIELIAN provided the UC with a proposed cover

story, instructing the UC that the UC is “a delightful medical translator who has reached out to me



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. . . and you want to talk with me about programs and how they can be expanded."

         n.       During that same meeting, HENRY indicated he was concerned about passing a

background check for his security clearance, telling the UC: “I don't want to know your name . . .

because I want plausible deniability too. In a security clearance situation they want to know names

and people and all this stuff."

         o.       During the August 17, 2022 meeting, HENRY told the UC that GABRIELIAN

had instructed him to read the book, '‘Inside the Aquarium.       GABRIELIAN stated she had

instructed HENRY to read the book, “Because it's the mentality of sacrificing everything . . . and

loyalty in you from day one. That's not something you walked away from.”

         P-       During the August 17, 2022 meeting, HENRY explained to the UC: “My point of

view is until the United States actually declares war against Russia, Tm able to help as much as I

want. At that point. I'll have some ethical issues I have to work through." GABRIELIAN replied:

“you'll work through those ethical issues."

         q-       On August 24, 2022, GABRIELIAN and the UC met at a hotel room in Baltimore,

Maryland. During that meeting, GABRIELIAN stated that although HENRY was a “coward,"

and concerned about violating HIPAA by providing records to the UC, GABRIELIAN had no

such concerns and violated HIPAA “all the time.” GABRIELIAN further told the UC she would

check with HENRY about providing medical records from Fort Bragg patients and get back in

touch.

         r.       On August 25, 2022, GABRIELIAN sent a text to the UC, using coded language,

to advise the UC that HENRY would provide Army medical records to the UC: “Jamie might have


1 The full title of the book is Victor Suvorov, “Inside the Aquarium: The Making of a fop Soviet
Spy” (1986). The book describes the recruitment and training of a Russian spy inside the
headquarters of the Main Intelligence Directorate of the then-Soviet Union (nicknamed “The
Aquarium”).


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samples of his poetry laying around. He says he will look for them and decide if he has the

bandwidth for another project over the weekend. I think it would be good for him to at least show

you examples of his past work."

       s.        On August 31, 2022, during a meeting with the UC and HENRY at a hotel in

Gaithersburg, Maryland, GABRIELIAN provided the UC with IIHI related to N.Z., the spouse of

a person currently employed by the Office of Naval Intelligence, and IIHI related to A.R., a veteran

of the United States Air Force. GABRIELIAN highlighted to the UC a medical issue reflected in

the records of N.Z. that Russia could exploit.

       t.        During that same meeting on August 31,2022, HENRY provided the UC with IIHI

related to at least five individuals who were patients at Fort Bragg, including:

             •   K.P. a retired Anny officer;
             •   K. W., a current Department of Defense employee;
             •   C.C., the spouse of a U.S. Army veteran;
             •   D.H., the spouse of a deceased U.S. Anny veteran; and
             •   B.B., the spouse of a deceased U.S. Anny veteran.

18U.S. C. §371




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                               COUNTS TWO AND THREE
              (Wrongful Disclosure of Individually Identifiable Health Information)

The Grand Jury for the District of Maryland further charges:

    1. Paragraphs 1 - 6 and 8 - 14 of Count One are re-alleged and incorporated here.

    2. On or about the dates listed below, in the District of Maryland and elsewhere, the

defendant.

                                       ANNA GABRIELIAN

did knowingly obtain and disclose individually identifiable health information maintained by a

covered entity to another person, without patient authorization and for a reason other than

permitted by HIPAA and its regulations, in violation of 42 U.S.C. §1320d-6(a), with intent to

transfer individually identifiable health information for malicious harm, in violation of 42 U.S.C.

§ 1320d-6(b)(3), as set forth below:

COUNT        APPROXIMATE DATE                         DESCRIPTION OF RECORD


    2             August 31, 2022          Medical notes regarding A.R. containing IIHI.




    3             August 31, 2022          Medical notes regarding N.Z. containing IIHI.



42 U.S.C. § 1320d-6(a)
42 U.S.C. § 1320d-6(b)(3)




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                           COUNTS FOUR THROUGH EIGHT
              (Wrongful Disclosure of Individually Identifiable Health Information)

The Grand Jury for the District of Maryland further charges:

        1.     Paragraphs 1 - 6 and 8 - 14 of Count One are incorporated here.

        2.     On or about the dates listed below, in the District of Maryland and elsewhere, the

defendant

                                       JAMIE LEE HENRY

did knowingly obtain and disclose individually identifiable health information maintained by a

covered entity to another person, without patient authorization and for a reason other than

permitted by HIPAA and its regulations, in violation of 42 U.S.C. §1320d-6(a), with intent to

transfer individually identifiable health information for malicious harm, in violation of 42 U.S.C.

§ 1320d-6(b)(3), as set forth below:

COUNT        APPROXIMATE DATE                         DESCRIPTION OF RECORD

                                           Medical notes regarding K.P. containing IIHI.
    4             August 31, 2022




    5             August 31, 2022          Medical notes regarding K.W. containing IIHI.




    6             August 31, 2022          Medical notes regarding C.C. containing IIHI.




    7             August 31, 2022          Medical notes regarding D.H., containing IIHI.




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      8            August 31, 2022   A list of current prescriptions for B.B.



  42 U.S.C. § 1320d-6(a)
  42U.S.C. § 1320d-6(b)(3)




                                       Erek L. Barron
                                       United States Attorney

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SiSMATUBE RE0AS1 ED
  Foreperson




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